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ORIGINAL SEALED

AO 91 (Rev. 11/11) Criminal Complaint

 

 

 

 

FILED
UNITED STATES DISTRICT COURT |
for the OFC 1172019
Southern District of Indiana US Distrivt COURT
NEW ALBANY DIVISION
United States of America )
Vv. ) .
KRISTY LANAE JOHNSON Case No. a AG “Wh =o
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 07/15/2019 in the county of Clark in the
____Southern District of Indiana , the defendant(s) violated:
Code Section Offense Description
Title 21, U.S.C., Sections 841(a)(1) Distribution of methamphetamine

and 841(b)(1)(A) (viii)

This criminal complaint is based on these facts:

See attached affidavit

@ Continued on the attached sheet,

 

Complainant’s signature

Todd J. Brown, Special Agent, FBI

Printed name and title

 

Sworn to before me and signed in my presence.

Date: |2—-A~t-+% JU cs Dt.

Judge’s signature

City and state: New Albany, Indiana Honorable Van T. Willis, U.S. Magistrate Judge

Printed name and title

 

 
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AFFIDAVIT

Your affiant, Todd J. Brown, Special Agent, Federal Bureau of Investigation (FB, being
duly sworn under oath states as follows:
I. INTRODUCTION

1. Iam an "investigative or law enforcement officer" of the United States, within the
meaning of Section 2510(7), Title 18, United States Code, empowered by law to conduct
investigations of and to make arrests for offenses enumerated in Title 18, United States Code,
Section 2516.

2. Ihave been employed by the Federal Bureau of Investigation as a Special Agent
since May, 2000. JI am currently assigned to the FBI's New Albany Resident Agency Office
Safe Streets Task Force in New Albany, Indiana. In connection with my official FBI duties, I
investigate criminal violations of the federal drug trafficking laws. I have participated in
investigations involving drug trafficking, and I have received training in the enforcement of laws
concerning drug trafficking. Iam familiar with the ways in which those engaged in drug
trafficking conduct their business, including, but not limited to, their methods of receiving,
storing, packaging, and distributing controlled substances; their receipt, transfer, storage,
distribution, and laundering of the proceeds from drug trafficking; their receipt, transfer,
possession, and use of firearms to protect and further their unlawful activities; their use of
telephones; and their use of numerical codes and code words to conduct their transactions.

3. Iam familiar with and have participated in all of the normal methods of
investigation, including, but not limited to, Title III wiretaps, visual surveillance, the general

questioning of witnesses, the use of informants, consensual monitoring and recording of

 
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conversations, the use of pen registers, the execution of search warrants, and undercover
operations.

4. Your affiant has not included each and every fact that has been revealed through the
course of this investigation. Your affiant has set forth only the facts that are believed to be
necessary to establish probable cause for the issuance of arrest warrants.

5. In June 2019, FBI New Albany and the Jeffersonville Police Department initiated an
investigation targeting the drug trafficking activities of Kristy Lanae Johnson, also known as
“Future”, and others in Jeffersonville, Indiana, and elsewhere. A Confidential Human Source,
hereinafter CHS1, was developed during the course of the investigation of Johnson and others.
CHS1 advised that Johnson was engaged in the distribution of methamphetamine in
Jeffersonville, Indiana, and elsewhere.

6. Onor about July 9, 2019, CHS1 met with Johnson and a black male later identified
as Jamie Contretras Shelby, also known as “Cali”, at a location known to your affiant in Clark
County, Indiana. During the meeting, Johnson introduced Shelby as her source of supply of
drugs. Johnson referred to Shelby as her “brother”. Shelby then stated to CHS1 that he was in
possession of multiple pounds of methamphetamine, cocaine and marijuana, and that Shelby was
willing to supply CHS1 with large quantities of those drugs. The meeting between CHS1,
Johnson and Shelby was consensually audio/video recorded. Your affiant reviewed the
recording and observed Jamie Shelby. Your affiant heard the statements by Shelby regarding
drug trafficking noted earlier in this paragraph. Physical surveillance was conducted by law
enforcement in relation to the meeting between CHS1, Johnson and Shelby. Law enforcement

observed Johnson’s vehicle and Shelby’s vehicle parked directly in front of the meeting location.

 
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7. Onor about July 15, 2019, under the direction of law enforcement, CHS1 contacted
Johnson to arrange for the purchase of four ounces of methamphetamine in exchange for cash.
During a consensually-recorded telephone call between CHS1 and Johnson preceding the
purchase, Johnson stated that she had picked up eight ounces of methamphetamine from her
brother in anticipation of supplying CHS1 with four ounces of methamphetamine and supplying
another unknown individual with four ounces of methamphetamine. Johnson agreed to meet
CHS1 for the purpose of supplying CHS1 with methamphetamine.

8. Onor about July 15, 2019, prior to the consensually-recorded telephone call
described in Paragraph 7 of this affidavit, law enforcement conducted physical surveillance of
Johnson. Johnson’s vehicle was observed in the parking lot of Shelby’s residence at Shadow
Ridge Apartment Complex in Louisville, Kentucky. Law enforcement subsequently observed
Johnson and Shelby walking together in the parking lot of the apartment complex. Johnson
walked to her vehicle and entered her vehicle. Shelby walked to his vehicle and entered his
vehicle. Both vehicles departed the apartment complex, with Shelby leading in his vehicle and
Johnson following immediately behind Shelby in her vehicle. Shelby, followed by Johnson,
traveled from Louisville, Kentucky, to the vicinity of the intersection of Interstate 265 and
Highway 62 in Jeffersonville, Indiana. Johnson and Shelby separated, and Johnson traveled to
her mother’s residence in Jeffersonville, Indiana. Surveillance was terminated on Shelby,
however, Shelby’s vehicle was located a short time later at Shelby’s place of employment in
Jeffersonville, Indiana.

9. Onor about July 15, 2019, Johnson was observed by law enforcement departing her

mother’s residence in Jeffersonville, Indiana. Johnson was observed by law enforcement a short

 
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time later arriving at the meeting location with CHS1. Prior to Johnson’s arrival, law
enforcement searched the area where the meeting between CHS1 and Johnson was to occur with
negative results. CHS1 was provided with $1,200 in official government funds to purchase
methamphetamine from Johnson. Johnson met with CHS1 and provided CHS1 with a clear
plastic bag containing approximately four ounces of suspected methamphetamine in exchange
for $1,200 in official government funds. Johnson departed the meeting location, and CHS1 was
recovered for debriefing. CHS1 provided to law enforcement the methamphetamine supplied to
CHS1 by Johnson. The methamphetamine provided to CHS1 by Johnson tested presumptively
positive for methamphetamine. The meeting between CHS1 and Johnson was consensually
audio/video recorded. Your affiant reviewed the recording and observed Johnson pull a large
plastic bag from the front of her pants. Johnson then pulled out two smaller bags containing
suspected methamphetamine from the larger bag and gave CHS1 the choice of which bag of
methamphetamine CHS1 wanted to purchase.

10. The consensually-recorded telephone call between CHS1 and Johnson described in
Paragraph 7 of this affidavit was placed subsequent to Johnson’s arrival at Johnson’s mother’s
residence in Jeffersonville, Indiana. During the telephone call, Johnson told CHS1 that she was
at her mother’s residence. Additionally, during the telephone call Johnson told CHS1 that she
had to speak softly so that her mother would not know she was talking about a drug transaction.

11. Based on Johnson’s own admission to CHS1 that Shelby was her source of supply
of methamphetamine, Johnson’s statement to CHS1 during the consensually-recorded telephone
call that she had picked up methamphetamine from her “brother”, and Johnson’s statement to

CHS1 during the same consensually-recorded telephone call that she needed to be careful so her

 
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mother would not hear her conversation, your affiant believes that Johnson obtained the
methamphetamine sold to CHS1 from Shelby at his apartment in Louisville, Kentucky.

12. Additionally, based on your affiant’s experience conducting numerous drug
trafficking investigations, your affiant is aware that drug traffickers will often drive vehicles in
“tandem” when one of the vehicles contains drugs. The purpose for this action is in the event
the vehicle containing the drugs is subject to a traffic stop by law enforcement, the other vehicle
may create a diversion in an effort to allow the vehicle containing the drugs to avoid contact by
law enforcement and subsequent discovery of the drugs by law enforcement. Your affiant
believes that Shelby and Johnson utilized this tactic based on the observations by law
enforcement described in Paragraph 8 of this affidavit.

13. Your affiant submitted the suspected methamphetamine purchased by CHS1 from
Johnson described in Paragraph 9 of this affidavit to the Drug Enforcement Administration’s
North Central Laboratory for analysis. The Drug Enforcement Administration’s North Central
Laboratory confirmed the substance as methamphetamine hydrochloride, with a substance purity
of approximately ninety-nine (99) percent resulting in approximately one-hundred-ten (110)

grams of pure methamphetamine.

 
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14. Based on the above information, your affiant has probable cause to believe Kristy
Lanae Johnson, also known as “Future”, distributed methamphetamine, in violation of Title 21,

United States Code, Sections 841(a)(1) and 841(b)(1)(A)viii).

J \
Todd J. Bkown
Special Agent
Federal Bureau of Investigation

Signed and Sworn to before me this N\o day of December, 2019

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Van T. Willis
United States Magistrate Judge
Southern District of Indiana

 
